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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA
______________________________________

BOBBY SNEED,

              Plaintiff,

       v.                                                  No. 3:21-cv-00279-JWD-RLB

FRANCIS ABBOTT, TONY MARABELLA,                            FIRST AMENDED COMPLAINT
SHERYL RANATZA, JIM WISE, PEARL
WISE, and ALVIN ROCHE, JR.,

            Defendants
______________________________________

                                        COMPLAINT

       Plaintiff BOBBY SNEED, by his undersigned attorney, for his complaint against

Defendants, alleges as follows:

                                      INTRODUCTION

       This case involves a bizarre and lawless parole revocation unlike any other in

Louisiana history. After spending nearly 47 years in Louisiana State Penitentiary (LSP) for

serving as a “lookout” to a burglary-gone-wrong, a frail and infirm 74-year-old Bobby Sneed

unanimously won his parole on March 15, 2021. Prison authorities moved slowly in processing

his release, and each day that passed, Mr. Sneed’s health grew worse. Already having suffered a

stroke in LSP custody in years past, Mr. Sneed developed COVID-19, pneumonia, sepsis, and

hypoxia. His release was fixed for March 26, 2021. But less than 24 hours from that moment, on

the afternoon of March 25, 2021, Mr. Sneed collapsed and was rushed to a nearby hospital. Upon

return to LSP four days later, he was placed in “Administrative Segregation.” Based on a urine

sample that may (or may not) have been extracted from an unconscious Mr. Sneed, prison




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officials alleged that Mr. Sneed possessed contraband (i.e., drugs) that caused his collapse. Mr.

Sneed’s release date came and went, with no action from LSP.

       Mr. Sneed spent over a month in a portion of LSP known as “the Dungeon,” without his

artificial teeth or shoes, before getting his administrative hearing. After a three-hour Disciplinary

Board hearing on Wednesday, May 6, 2021, a panel of prison officials cleared Mr. Sneed of all

wrongdoing related to his March 25, 2021 medical emergency. (At the close of the hearing, the

Disciplinary Board announced a new charge against Mr. Sneed of improperly being in the wrong

dormitory when he collapsed, but they withdrew those charges the next day, after LSP officials

realized Mr. Sneed had every right to be in the dormitory.) Mr. Sneed and his family rejoiced at

the Disciplinary Board’s ruling(s): Mr. Sneed was once again due to return home to spend his

final years with his siblings, children, and grandchildren.

       Then came a cruel twist. Two days after the LSP Disciplinary Board hearing—after

numerous news articles portrayed Louisiana corrections officials in a harsh light for their

handling of Mr. Sneed’s release—Mr. Sneed received notice that his parole had been revoked.

He received a second notice that he would have a “new parole hearing” on May 10, 2021. In the

middle of this “new parole hearing,” the Committee on Parole informed Mr. Sneed that (perhaps)

his previously granted parole had been temporarily restored. But the fix was already in: as the

panel members aggressively cross-examined him, it became clear (1) that the Committee on

Parole had already made their decision, (2) that its members were apparently under the

(incorrect) impression that Mr. Sneed had suffered an overdose on March 25, 2021,

notwithstanding the Disciplinary Board’s exoneration, and (3) that its members believed Mr.

Sneed told hospital staff that he had injected heroin before his “overdose.” Mr. Sneed was given

no notice; no meaningful opportunity to prepare with counsel; no opportunity to present




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evidence; and no access to the secret “information” upon which the Committee on Parole was

acting. The Committee on Parole called no witnesses and introduced no evidence, and Bobby

was denied the opportunity to call any witnesses himself. At the end of the brief proceeding, the

panel voted to “deny parole,” effectively condemning Bobby to die in prison.

        The next day (Tuesday, May 11, 2021), Louisiana prison officials finally turned over the

disputed medical records they had withheld from Mr. Sneed for nearly a month. The records

confirmed that Mr. Sneed was hospitalized due to “Post Cardiac Arrest, Covid, Pneumonia,

Hypoxia.” Moreover, the records confirmed (as Mr. Sneed has repeatedly stated) that he was

essentially unconscious and unable to communicate with medical staff at the time he purportedly

“confessed” to medical staff that he had used drugs.

        The Committee on Parole’s actions were illegal. In a rush to condemn an elderly man, the

parole board disregarded its own procedures, violating both state and federal law. Mr. Sneed

seeks declaratory and injunctive relief requiring Louisiana prison officials to comply with the

Fourteenth Amendment’s Due Process Clause and the First Amendment.

                                  JURISDICTION AND VENUE

        1.       This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of state law of Plaintiffs’ rights as secured by the United States Constitution. See

Wilkinson v. Dotson, 544 U.S. 74 (2005) (holding prisoner may bring § 1983 due process claim

challenging parole procedures).

        2.       This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

        3.       Venue is proper under 28 U.S.C. § 1391(b), because the defendant resides in this

judicial district and the events giving rise to the claims asserted herein occurred in this judicial

district.




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                                           PARTIES

          4.    Plaintiff BOBBY SNEED is a citizen of the United States and resides at

Louisiana State Penitentiary in West Feliciana Parish, Louisiana.

          5.    Defendant FRANCIS ABBOTT is the Executive Director of the Louisiana

Committee on Parole.

          6.    Defendant TONY MARABELLA is a Member of the Committee on Parole,

purported to unilaterally revoke Mr. Sneed’s parole on May 7, 2021, and then served as a

member of the five-person committee that purported to revoke Mr. Sneed’s parole on May 10,

2021.

          7.    Defendant SHERYL RANATZA is the Chair of the Louisiana Committee on

Parole and served as a member of the five-person committee that purported to revoke Mr.

Sneed’s parole on May 10, 2021.

          8.    Defendant JIM WISE is the Board Vice Chair of the Louisiana Committee on

Parole and sat on the five-member panel of the Committee that purported to revoke Mr. Sneed’s

parole.

          9.    Defendant PEARL WISE is a member of the Louisiana Committee on Parole and

sat on the five-member panel of the Committee that purported to revoke Mr. Sneed’s parole.

          10.   Defendant ALVIN ROCHE, JR. is a member of the Louisiana Committee on

Parole and sat on the five-member panel of the Committee that purported to revoke Mr. Sneed’s

parole.

                         PLAINTIFF’S FACTUAL ALLEGATIONS

          A.    Bobby’s History and the Underlying Offense




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       11.    According to documents presented at Mr. Sneed’s March 15, 2021 parole hearing,

see Ex. A (“Parole Packet”), Bobby Sneed lived a commendable life up through the date of his

offense:

              Mr. Sneed was born on December 18, 1946. He was raised in Gibsland,
       Louisiana, which is located in Bienville Parish. His grandmother raised him because
       he was the second of nine children born to a single mother who struggled to support
       her children. Though his family was poor, and life was tough, Mr. Sneed graduated
       high school and earned a musical scholarship to Grambling College for playing the
       saxophone. Although he excelled in the university, Mr. Sneed left Grambling in 1966,
       with only 30 credits shy of graduating.
              In 1966, Mr. Sneed was drafted into the Army and was sent to Vietnam. He
       served his tour and was honorably discharged in 1968. However, when Mr. Sneed
       returned from Vietnam, his family reports that he was not the same carefree individual.
       Instead, Mr. Sneed was always on the defense, he was more aggressive, and much more
       emotional than before. He seemed to have lost the outgoing and happy outlook on life
       that he once had…
              Other than the offense for which he is incarcerated, Mr. Sneed has no other
       criminal history.
              Since arriving at Louisiana State Penitentiary, Mr. Sneed made personal and
       educational strides to better himself, which is apparent in his character today. During
       more than four decades of incarceration, Mr. Sneed studied the law, participated in
       rehabilitative programs, and strengthened his spiritual beliefs to grow into a well-
       educated and respectable man. He is entering the final years of his life and recently
       suffered a stroke. Despite health complications, Mr. Sneed is optimistic to return to
       society and spend his final years with his family.

       12.    But in 1974, the parole hearing documents reveal, Mr. Sneed made a horrible

mistake:

              Mr. Sneed lived in Chicago for a short period of time where he made a few
       friends. In June [of 1974], three of Mr. Sneed’s Chicago friends came to Gibsland,
       Louisiana, to visit and were looking to hustle some money. Some of the men had heard
       that an elderly couple had a safe with a lot of money. On June 13, 1974, Mr. Sneed and
       his five co-defendants decided to rob the Jones’s house for the money in their safe.
       Charles Sneed, Eugene Wright, and Arthur Gardner entered the residence to carry out
       the robbery while Bobby Sneed and Andrew Rhodes stood about two blocks away as
       lookouts. Alfred Critton drove the car the men used to leave the scene of the crime.
       While the three co-defendants were inside one of them beat Mr. Jones to death.
              All six men were arrested. Mr. Sneed went to trial in 1975 and was convicted as
       a principal to second-degree murder and sentenced to life with parole after 40 years.
       Mr. Sneed filed a postconviction application, and his conviction was vacated. In 1987,




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       he was tried for the same crime and again convicted as a principal to second-degree
       murder and sentenced to life without parole [sic].
                It is undisputed that Mr. Sneed did not enter the Jones’ residence and acted as a
       lookout.
                Of the six men originally arrested for this crime, Mr. Sneed is the only one who
       is still incarcerated. Two of Mr. Sneed’s co-defendants agreed to testify and served no
       time. One codefendant struck a deal with the state at the time of Mr. Sneed’s second
       trial and received a reduced sentence. One co-defendant died in prison and Charles
       Sneed was released on parole.
                Mr. Sneed recognizes that his actions make him just as culpable as the
       individuals who entered the Jones’ home. By acting as a lookout, participating in this
       crime, and failing to intervene, Mr. Sneed acknowledges that he caused irreparable
       damage and deeply regrets his participation in this crime.

       13.     For the past 47 years, the documents reflect, Mr. Sneed has engaged in extensive

prison programming, and undergone substantial spiritual and personal growth. He has a lengthy

record of institutional compliance and poses a low risk of recidivism.

       B.      After 47 Years, Parole Finally Granted

       14.     Bobby Sneed came before the Committee on Parole on March 15, 2021.

       15.     After a hearing that lasted less than 17 minutes, during which Mr.

Sneed’s parole application faced no opposition, Mr. Sneed was granted parole. Many of the

members thanked Mr. Sneed for his military service, and heaped praise on him for his self-

improvement work while in prison. At the end of the hearing, after a 5-0 vote in favor, the panel

chairman stated: “Your parole has been granted.”




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                   Mr. Sneed – Before and After Nearly a Half-Century of Incarceration

        C.         Within 24 Hours of Freedom, A Medical Crisis

        16.        The Louisiana Department of Corrections continued to hold Mr. Sneed at

Louisiana State Penitentiary even after the parole board voted and his residential plan was

approved. Indeed, the matter was fully out of the Committee on Parole’s hands: the Certificate of

Parole had been sent to LSP, and absolutely nothing (except bureaucratic delay from LSP

officials) prevented Mr. Sneed’s immediate release.1

        17.        Then, on March 25, 2021, Mr. Sneed collapsed at Louisiana State Penitentiary.

He was revived after other prisoners successfully performed CPR and he received two

defibrillations.



    1
        The over-detention of prisoners by the Louisiana Department of Corrections has been a
“big problem” since at least 2012, which has costed taxpayers millions of dollars (and
incarcerated people thousands of years of “extra” time unlawfully detained in prison). See, e.g.,
Lea Skene and Jacqueline DeRobertis, State corrections overdetention woes, known since 2012,
cost state millions, lawyer alleges, BATON ROUGE ADVOCATE, Feb. 6, 2020.

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       18.     Medical records subsequently revealed that he was suffering from COVID-19,

pneumonia, sepsis, and hypoxia at the time of his collapse. Consistent with the fact that medical

staff did not believe he suffered an “overdose,” doctors at LSP injected Mr. Sneed with morphine

before taking him to an outside hospital.

       19.     As is common practice at LSP (though improper from a medical care

perspective), prison officials also administered Narcan and inserted a catheter into Mr. Sneed’s

urethra to attempt to drug test him.2

       20.     Mr. Sneed was taken to Lane Regional Medical Center, where he was treated until

March 29, 2021.

       21.     Instead of being released when he was discharged from the hospital, Mr. Sneed

was forcibly returned to Louisiana State Penitentiary.

       22.     Mr. Sneed was placed in “Administrative Segregation,” and told that he would

remain there until adjudication of the prison disciplinary allegations against him—allegedly

violating LSP “Rule 1 (Contraband)” on March 25, 2021.

       D.      Fighting the Allegations from “the Dungeon” for Over a Month

       23.     For over a month, Mr. Sneed attempted to ascertain the evidentiary basis for the

Contraband allegation against him.




   2
        On March 31, 2021, just days after Mr. Sneed’s heart attack, a federal judge held that
Louisiana State Penitentiary defendants were deliberately indifferent to the inmates’ serious
medical needs in the means and manner of the delivery of health care, in violation of the Eighth
Amendment to the United States Constitution. Lewis v. Cain, 3:15-cv-00318, Dkt. 594 (Opinion)
(M.D.La. 3/31/21). As part of that opinion, the District Court highlighted LSP’s practice of
unnecessarily, unprofessionally “(1) routine[ly] treat[ing] patients presenting with altered mental
status with Narcan; [and] (2) routine[ly] subjecting patients who present with altered mental
status to urine toxicology testing, often by catheterization.” Id. These policies and others violate
the Eighth Amendment.” Id.

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        24.    On April 18, 2021, Mr. Sneed signed a legal release, provided by LSP, to share

his medical records with his attorney.

        25.    DPSC officials refused to release the documents to his attorney until May 11,

2021 (i.e., after the Disciplinary Board hearing and after the parole board proceeding confirming

the revocation of Mr. Sneed’s parole).

        26.    From late March until the end of April, LSP officials regularly failed to make Mr.

Sneed available for scheduled attorney-client calls; refused to allow Mr. Sneed’s attorney to

attend (or even know about) scheduled Disciplinary Board hearing dates on March 30, April 5,

April 6, and April 8; failed to fulfill Public Records Act requests for relevant records; and failed

to disclose the “evidence” supporting the allegations against Mr. Sneed. See, e.g., Ex. B (letter

dated April 27, 2021).

        27.    Finally, after numerous protests, Mr. Sneed was afforded an opportunity to appear

before the Disciplinary Board with counsel on May 6, 2021.

        28.    Throughout this period, the Committee on Parole took no action with respect to

Mr. Sneed’s parole and DPSC refused to honor the previously fixed release date of March 26,

2021.

        E.     Exonerated by the Disciplinary Board

        29.    At the outset of the hearing, the Disciplinary Board denied every motion Mr.

Sneed filed, including inter alia (1) a motion to dismiss for failure to comply with the “72-hour

rule” for promptly adjudicating Disciplinary Board allegations (see La. Admin. Code, Title 22,

Part I-B, § 341(J)); (2) a motion to dismiss for failure to comply with the notice requirement (see

id., § 341(F)(1)(a)); (3) a “Motion to Confront Accuser, to Call Witnesses, and for Further

Investigation” that included additional requests to review medical records See Ex. C, D, E.




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       30.      The Disciplinary Board then read into the record the chief evidence against Mr.

Sneed: a presumptive positive test from a “ToxCup” urine test for amphetamine and

methamphetamine from March 25, 2021, and a subsequent laboratory test of that sample

suggesting the additional presence of opiates. Mr. Sneed was then given the opportunity to

present evidence. He introduced evidence indicating LSP officials (1) fraudulently altered their

“ToxCup” forms in Mr. Sneed’s case3; (2) mishandled the urine samples before they were sent to

an outside laboratory; and (3) had no idea how, when, or if the purported urine sample was

obtained from an unconscious Mr. Sneed. Mr. Sneed testified that he had almost no memories

from March 25, 2021 because he was unconscious for most of the day.

       31.      Because Mr. Sneed’s medical records were withheld, Mr. Sneed had no

opportunity to argue that other medications he was prescribed were responsible for generating

any false positive results, if in fact that urine was obtained from him. For instance, prison

officials concealed (until May 11, 2021) that they injected Mr. Sneed with morphine before

taking him to an outside hospital, which explains any opiates in his urine; many other drugs

commonly administered to treat diabetes, high blood pressure, sinus and nasal congestion, and

pneumonia can result in false positive tests for amphetamine and methamphetamine.

       32.      At the conclusion of the hearing, the Disciplinary Board deliberated in private.

After approximately ten minutes, they delivered their verdict: Mr. Sneed was found not guilty of

“Contraband.”

       33.      In the same breath, the Disciplinary Board also announced the filing of a new

baseless charge against Mr. Sneed—being impermissibly present in the dormitory where Mr.



   3
        LSP officials were unaware that Mr. Sneed’s counsel had independently obtained the
original versions of the reports, which were different in several material ways from the “cleaned
up” versions later submitted as evidence to the Disciplinary Board.

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Sneed collapsed on March 25, 2021. LSP officials withdrew that charge the next day when they

were forced to acknowledge Mr. Sneed was authorized to be there.

       F.      Francis Abbott’s Threats and Improper Plea Bargaining

       34.     Executive Director of the Committee on Parole Francis Abbott was aware of the

allegations against Mr. Sneed beginning at least March 31, 2021.

       35.     On the evening of May 6, 2021, Mr. Sneed’s attorney emailed the Executive

Director of the Committee on Parole, Francis Abbott (copying DPSC’s General Counsel):

       Dear Mr. Abbott: It is my understanding that the Parole Board has voted to grant
       Mr. Sneed parole, his addresses with Parole Project and the First 72+ have been
       approved, and that all disciplinary charges against him have been dismissed (the
       contraband charge after having been fully adjudicated). Can you please advise
       when he will be released? We are standing by to arrange pickup. Many thanks,
       Thomas

       36.     Later that evening, Mr. Abbott called Mr. Sneed’s attorney via cell phone. He

stated that he had the authority to revoke Mr. Sneed’s parole despite the Disciplinary Board

finding. When Mr. Sneed’s attorney advised that he believed Louisiana law required, at

minimum, a formal “notification” of misconduct from the Secretary of the Department of Public

Safety & Corrections, see La. Admin. Code Title 22, Part XI, § 504(K), Mr. Abbott seemed

confused, asking which provision Mr. Sneed’s attorney was referring to. He stated he would

“check with the Attorney General’s office about that.”

       37.     Mr. Abbott stated that because he was in possession of evidence of Mr. Sneed’s

misconduct, he “didn’t need” notification from the Secretary.

       38.     Mr. Abbott proposed that “what [he] want[ed] to do” is for Mr. Sneed agree to

“go to Steve Hoyle” for a nine-month drug treatment program in Department of Corrections

custody, during which time the Committee on Parole would “keep the matter open.” Depending

on Mr. Sneed’s behavior during those nine months, Mr. Abbott indicated, Mr. Sneed might re-



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earn his parole. Mr. Abbott proposed that by agreeing to this compromise, Mr. Sneed could

resolve all his issues with the Committee on Parole.

          39.   Counsel for Mr. Sneed advised that private charities in New Orleans had agreed to

pay for 100% of any in-patient or out-patient drug treatment the Committee on Parole or his

parole agent might require, when Mr. Sneed was released. See also Ex. B (same). Moreover, he

did not think Mr. Abbott had the authority to engage in such negotiations on behalf of the

Committee on Parole, and that any decision would have to be Mr. Sneed’s, with whom he had

limited communication. See id.

          40.   During the Thursday night call, Mr. Abbott referred derisively to the ongoing

press coverage of Mr. Sneed’s case and stated it would not help Mr. Sneed before the Committee

on Parole. He asked to be notified if the Wall Street Journal was planning on covering the

matter.

          41.   No agreement was reached, and counsel had no opportunity to communicate Mr.

Abbott’s proposal to Mr. Sneed before the next day’s events.

          42.   Mr. Abbott was aware of negative press coverage, and critical statements by Mr.

Sneed’s counsel about Louisiana corrections officials, beginning at the latest May 6, 2021. At the

time, news coverage of Mr. Sneed’s ordeal was generating substantial negative publicity about

Louisiana corrections officials. A story had garnered well over 150,000 “views” on the news and

politics website Reason.com, a New York City radio station devoted a 30-minute segment to Mr.

Sneed’s matter, and online reaction to Louisiana corrections officials’ actions was

overwhelmingly hostile. See Ex. F (letter dated May 7, 2021 to Committee on Parole collecting

sample of online comments). On behalf of Mr. Sneed, his attorney made critical statements about

Louisiana corrections officials, and was encouraging others to petition Secretary LeBlanc. See,




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e.g., Billy Binion, He Was Granted Parole After Service 47 Years Behind Bars. Now the Prison

Won’t Let Him Leave. REASON, MAY 6, 2021 (“It feels like we’ve gone from tragedy to farce

now.”).

          43.   One of Mr. Sneed’s family members agreed to talk with journalists, but only if

their name and gender was masked. See Nicholas Chrastil, Angola Prison Who Faced Loss of

Parole Cleared on Contraband Charges, but Now Faces New Disciplinary Action for Being in

Wrong Dorm, Lawyer Says, THE LENS, May 6, 2021.

          G.    Long After His Release Date, Mr. Sneed’s Parole Taken

          44.   On May 7, 2021, counsel for Mr. Sneed received an email from Mr. Abbott

stating, the text of which read: “The Committee on Parole has made the decision to rescind its

original decision to grant Offender Sneed parole and has schedule Offender Sneed for a new

parole hearing before a parole panel on Monday 5/7/21 [sic].” The email came with an attached




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PDF file name “B Sneed Rescind Letter” reading as follows:




       45.     Immediately upon receipt of the letter, Mr. Sneed’s attorney called Mr. Abbott.

Mr. Abbott stated (1) that, in fact, there had not been a real Board “vote,” but rather, Mr. Sneed’s

parole had been taken unilaterally by Committee on Parole member Tony Marabella (“I

presented the paperwork and he did the action”); (2) that no other members of the Committee on

Parole were notified of this action ahead of time; (3) that the information that was provided to

Mr. Marabella would not be shared with Mr. Sneed; and (4) that there was no audio recording,

minutes, or other record of this ex parte proceeding involving him and Mr. Marabella. But see

La. Admin. Code, La. Admin. Code Title 22, Part XI, § 111 (“There shall be no informal, off-

the-record communications regarding the merits or the substance of an offender’s case between

committee members for the purpose of influencing a decision of the committee outside of an




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official public hearing.”); accord id. at § 501 (“All meetings and hearings of the committee shall

be open to the public . . . .”).

        46.     Mr. Abbott further stated: “That’s what happens. Mr. Sneed didn’t want Steve

Hoyle. That’s the decision.”

        47.     Mr. Abbott was quoted in a local newspaper later that afternoon, “[W]e have

made the decision to rescind that parole.” See Nicholas Chrastil, State Board Rescinds Parole for

Angola Prisoner Bobby Sneed Despite Dismissal of Disciplinary Charges, THE LENS (New

Orleans, La.), May 7, 2021.

        48.     Mr. Abbott also refused to disclose the secret evidence to members of the press,

and was quoted in a different publication stating: “We’ve got documents that were submitted to

the board that are not open to the public.”

        49.     A few minutes after the first notice, another letter was sent to Mr. Sneed

concerning the “new” parole hearing he would receive, as alluded to in the earlier letter: “The

Committee on Parole has scheduled your parole hearing [for 7:45AM] on 05/10/2021. . . . You or

your representative may request, in writing, to continue or postpone your scheduled parole

hearing for good cause. The request must be received in the Board’s office no later than fourteen

(14) days prior to the scheduled hearing date and must contain a specific reason(s) for the

request.” It was, of course, impossible to submit a request to continue or postpone the Monday

morning hearing (noticed on Friday afternoon) at least 14 days prior to the hearing.

        50.     Mr. Sneed sent a series of letters to the Committee on Parole and to Mr. Abbott

explaining that the Committee on Parole’s actions violated both state and federal law, and

repeatedly requested a continuance of the hearing scheduled for Monday morning. See Ex. F, Ex.

G., Ex. H, Ex. I. Mr. Sneed received no written rulings.




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       G.      The Fix Is In: A “Hearing” Unlike Any Other in Louisiana Parole History

       51.     Over the weekend, there was more negative press coverage of Louisiana

corrections officials (and the parole board, in particular). Billy Binion, Louisiana Can’t Prove

This 74-Year-Old Inmate Took Drugs. They Revoked His Parole Anyway, May 7, 2021 (“It

appears that Sneed might also die in prison. Not because he's still a danger to society: The board

acknowledged he was no such thing in the glowing 17-minute hearing that resulted in their

unanimous March decision. It will be because of a drug charge—something that is both

victimless and unsubstantiated. That's not justice. That's a travesty.”); Nicholas Chrastil, State

Board Rescinds Parole for Angola Prisoner Bobby Sneed Despite Dismissal of Disciplinary

Charges, May 7, 2021 (“It’s cruel, illegal, and a massive waste of taxpayer money,” [Mr.

Sneed’s lawyer] said. “But that’s the Louisiana parole board at work.”).

       52.     On the morning of Monday, May 10, 2021, a virtual hearing occurred over Zoom.

       53.     Directly (and without explanation) contradicting the written notice provided to

counsel and Mr. Sneed, the private communications between Mr. Abbott and Mr. Sneed’s

attorney, and public statements by Mr. Abbott, Mr. Marabella orally denied in the middle of the

hearing that Mr. Sneed’s parole had been “rescind[ed].” Another Board member (Alvin Roche)

made conflicting statements to whether Mr. Sneed’s parole had already been stripped, or whether

considering that question was the point of the hearing, or whether the point of the hearing was to

attempt to legitimate Mr. Marabella’s previously taken action. Roche explained that the hearing

was occurring because “there were some circumstances after [Mr. Sneed] was granted [parole]

that caused us to rescind our decision,” while simultaneously concurring with Mr. Marabella that

the purpose of the May 10 hearing was to decide whether to strip Mr. Sneed’s parole.




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          54.   Throughout the event, members of the Committee on Parole made statements

indicating they had already discussed Mr. Sneed’s matter in off-the-record settings. Mr. Roche

stated that “there were some circumstances after [Mr. Sneed] was granted [parole] that caused us

to rescind our decision”; and after Mr. Sneed denied engaging in wrongdoing, Mr. Marabella

confidently predicted that his colleagues’ vote would “likely” be to strip Mr. Sneed of his parole

based on the private information they had already received. But see La. Admin. Code, La.

Admin. Code Title 22, Part XI, § 111.

          55.   Mr. Sneed attempted to ascertain what formal “notification” of misconduct from

an authorized state official had triggered the hearing (or, rather, whether the Committee on

Parole had just acted at the prompting of Mr. Abbott). Mr. Sneed again recited from the

Louisiana Administrative Code that the Committee on Parole needed a “notification from the

Secretary of the Department of Public Safety and Corrections” that Mr. Sneed had engaged in

“misconduct” before it could act.

          56.   Mr. Marabella confirmed that the Secretary had not been in contact with the

Committee on Parole.

          57.   Mr. Marabella stated that a “representative” of the Secretary had provided the

requisite notification, but did not identify who the “representative” was (nor how, nor when, this

individual contacted the Committee on Parole). Separately, Mr. Abbott told a reporter working

on a story for the Washington Post over the weekend that the required “notification” came from

LSP Deputy Warden Tracy Falgout, to whom Secretary LeBlanc had delegated authority by

affidavit for purposes of triggering Committee on Parole review of previously granted parole

grants.




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       58.     In fact, no such delegation of authority or affidavit exists. See Ex. H (providing

examples of other affidavits delegating authority for other purposes).

       59.     No “notification” to the Committee on Parole, from Secretary LeBlanc or anyone

else, has been provided to Mr. Sneed.

       60.     Mr. Sneed repeatedly asked for a brief continuance. He emphasized the lack of

notice, and asked to review whatever “notification” the Committee on Parole had received.

He reiterated his previous requests to Mr. Abbott to obtain documents, which Louisiana law

requires the parole board to share pursuant to La. R.S. 15:574.12(G)(1). The Board denied the

requests. Speaking on behalf of the panel, Mr. Marabella stated: “This hearing is very simple.

Your motion for continuance is denied.”

       61.     Mr. Sneed moved for the Committee on Parole to consider the record from the

three-hour administrative hearing where Mr. Sneed was cleared of wrongdoing. Mr. Marabella

interrupted: “We’re going forward today! . . . The record is clear. Now we’re moving forward

with the hearing. Does your client wish to talk?”

       62.     Although previously advised that Mr. Sneed was a stroke victim who struggled to

speak, the Committee on Parole denied Mr. Sneed’s request to make statements and answer

questions through his attorney.

       63.     The Committee on Parole allowed Mr. Sneed to confer privately with counsel for

two minutes—the first time Mr. Sneed had been afforded any opportunity to speak with an

attorney about the tumultuous events since the previous Wednesday—after which Mr. Marabella

immediately began examining Mr. Sneed:

       Q:      You received a life sentence for the murder of Curtis James. You’ve been in
               prison for 47 years. Is that correct?
       A:      Yes, sir.




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        Q:     Mr. Sneed, the parole board held a lengthy hearing on March 15, 2021, hearing
               both support and opposition [sic], and recommended [sic] parole with certain
               conditions. Do you recall that?
        A:     Yes, sir.
        Q:     Ten days later, you were found unresponsive. CPR was administered, as well as
               Narcon [sic]. After medical intervention, you were breathing and transported to
               the medical center. At which time, while at Lane Memorial Hospital, part of your
               admission to the Lane Memorial Hospital, as part of your history of what
               happened, you indicated to them that you injected heroin earlier in the day. Is that
               correct?
        A:     No, sir.
        Q:     Oh! You didn’t say that?!
        A:     No, sir.
        Q:     You didn’t inject something that you thought was heroin on that day?
        A:     No, sir.
        Q:     You did inject methamphetamines, didn’t you?
        A:     No, sir.
        Q:     So you’re denying what you told the medical records?
        A:     I was unconscious. I didn’t tell the medical records anything.
        Q:     Mr. Sneed, you were transported breathing to Lane Memorial Hospital, at which
               time you were interviewed by the doctors and the medical staff there, and you
               indicated to them that you had injected heroin earlier in the day and you later
               tested positive for both methamphetamines and amphetamines.
        A:     No, sir.
        Q:     You didn’t?
        A:     No, sir.
        Q:     That’s what you’re telling us today? The records indicate otherwise?

This was the entirety of the evidence adduced at the hearing.

        64.    After Mr. Marabella’s final question Mr. Sneed’s counsel interjected: “And I have

to object again. We have no idea what records the parole board is referring to. We’ve repeatedly

asked for them, again and again, and been denied by prison authorities and by Mr. Abbott. So I’d

ask, if the board would like Mr. Sneed to respond to specific allegations that we have notice of

what . . .”

        65.    Mr. Marabella interrupted: “I just asked him the specific questions and he has

denied them.” Mr. Marabella further stated: “We’re not guessing! We have hard facts that we’re

relying on today. Now, your client has denied all of these things, and we accept that, and that’s in




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the record.” He later explained, “We have information. This hearing is about the actions of your

client on that particular day.”

          66.   Mr. Sneed’s additional requests to call witnesses and introduce evidence were

denied.

          67.   Mr. Marabella said he would allow Mr. Sneed’s attorney three minutes to make a

closing statement. He interrupted the statement after 2 minutes and 15 seconds, stating: “Mr.

Frampton, you’ve made your points.”

          68.   Mr. Sneed’s attorney then informed the Committee on Parole of Mr. Abbott’s plea

bargain offer on May 6, 2021, urging that it was unfair to punish Mr. Sneed based on his refusal

to accept a plea bargain that he never had the opportunity to accept: “I hadn’t spoken yet with

Mr. Sneed [on Friday, May 7 when Mr. Abbott’s letter arrived]; I still haven’t spoken with Mr.

Sneed; this [in the midst of the hearing] is literally the first time Mr. Sneed has heard this . . . . I

think this is highly improper, and I think the only reason we are here is because of this improper

plea bargaining attempt. And it seems highly improper to penalize or punish Mr. Sneed based on

a resolution that I was not able to communicate to him.” At this point, Mr. Marabella interrupted

and cut off Mr. Sneed’s attorney’s microphone.

          69.   Mr. Marabella then addressed Mr. Sneed: “You were granted parole. 10 days later

you overdosed . . . . Today my vote is going to be to deny your parole.” Another member stated

that “based on the information that’s been provided today, for today, in preparation for today’s

hearing, my vote today is to deny you parole.” The vote was 5-0 to “deny” parole. No member

referred to “rescinding” parole during the vote, and no member provided further details on the

non-public information Mr. Abbott provided them.

          H.    Post-Revocation Revelations




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         70.   On Tuesday, May 11, 2021, the day after the Committee on Parole hearing, DPSC

finally provided Mr. Sneed’s medical records from Lane Regional Medical Center that they had

withheld for the past month (and that, perhaps, the Committee on Parole was referencing

throughout the hearing).

         71.   The records support the conclusion that Mr. Sneed collapsed due to COVID-19,

pneumonia, and hypoxia, rather than the drug overdose prison officials alleged and assumed.

         72.   The records reveal that, at admission, Mr. Sneed was “lethargic and unable to

participate in HPI [“History of Present Illness”]. This is consistent with Mr. Sneed’s consistent

testimony—before both the Disciplinary Board and the Committee on Parole—that he

remembers almost nothing of the events of March 25, 2021 and was not conscious during the

purported interactions with medical personnel.

         73.   On May 12, 2021, counsel was able to speak with Mr. Sneed’s Attending

Physician from Lane Regional Medical Center, Dr. Jess Anderson, identified through the

belatedly disclosed medical records. She stated (1) that she remembered Mr. Sneed well, (2) that

neither she nor the Nurse Practitioner who treated Mr. Sneed recalled Mr. Sneed making any

admission regarding drug use during his hospital stay; (3) that it “didn’t make sense” that Mr.

Sneed would be the source of the purported confession given that he was “unable to participate

in HPI,” (4) that if LSP employees, rather than Mr. Sneed, told hospital doctors that Mr. Sneed

had acknowledged drug use (perhaps passing along rumors they had heard or invented), such

information could appear as it did in Mr. Sneed’s Admission Notes.

         74.   Mr. Sneed remains incarcerated, in fragile health, at Louisiana State Penitentiary

today.




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       75.      According to the Louisiana Committee on Parole, Mr. Sneed will be eligible for a

new “hearing” in the coming months.

                                              COUNT I

                        42 U.S.C § 1983 – Procedural Due Process Claim

       76.      Plaintiff repeats and realleges all of the paragraphs in this complaint as if fully set

forth herein.

       77.      Mr. Sneed’s parole was revoked by a Single Member Action on May 7, 2021 (as

indicated in formal correspondence from the Committee on Parole and in Executive Director

Francis Abbott’s statements to counsel and the press), somehow reinstated, and then revoked

again after the peculiar “clean-up” proceeding the following Monday, on May 10, 2021.

       78.      Whether viewed as two separate revocations, or one protracted revocation

proceeding, the procedure violated the Fourteenth Amendment’s Due Process Clause.

       79.      Under Louisiana law, the Committee on Parole may “grant,” “deny,” “modify,”

and “revoke” parole; the Committee on Parole lacks legal authority to withdraw a previously

granted parole by “rescind[ing]” it. See La. R.S. 15:574.2—15:574.13. In this regard, the

Committee on Parole’s decision to “grant” parole is identical to a Louisiana trial court’s ruling

on certain motions. Cf. State v. Bullock, 269 So. 2d 824, 825 (La. 1972) (explaining trial court

“was without authority to rescind . . . [its] order[, which] was no longer subject to revision or

reversal by the trial court which had rendered it.”). Title 15, in which the Legislature established

the legal framework for the Committee on Parole, makes no mention of an authority to “rescind”

parole, nor has any Louisiana court ever held that the Committee on Parole has the power to

“rescind” a previously granted parole (particularly not after a fixed release date). In sum, once a

prisoner is granted parole, and certainly after a fixed release date, Louisiana law provides that




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this individual remains paroled until such status is lawfully “revoked.” See La. R.S. 15:574.9

(governing revocations).

        80.     Mr. Sneed’s parole was granted on March 15, 2021 and his release date was fixed

for March 26, 2021.

        81.     On either the morning of Friday, May 7, 2021 or on the morning of Monday, May

10, 2021, at least five weeks after Mr. Sneed’s release date, Mr. Sneed’s parole was revoked.

        82.     Mr. Sneed was denied “due process of law” when his parole was stripped:

                a.      He was not given written notice of the claimed violations of parole.

                b.      The evidence against him was not disclosed.

                c.      He did not receive a meaningful opportunity to be heard, to present

                        witnesses, and to present documentary evidence.

                d.      He did not have the right to confront and cross-examine adverse witnesses.

                e.      The hearing body was neither “neutral” nor “detached”

                f.      He did not receive a written statement by factfinders as to the evidence

                        relied on and reasons for revoking parole.

        83.     The Committee on Parole’s disregard for state law strengthens Mr. Sneed’s

federal due process claim. See, e.g., La. R.S. 15:574.7(C)(2)(a)(i) (providing that parole officials

may not ordinarily impose incarceration, let alone revoke parole outright, in response to a

parolee’s first positive drug test).

        84.     The net effect was to deprive Mr. Sneed of a liberty and property interest without

the “due process of law” guaranteed by the Fourteenth Amendment.

                                            COUNT II

                            42 U.S.C § 1983 – First Amendment Claim




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          85.   Plaintiff repeats and realleges all of the paragraphs in this complaint as if fully set

forth herein.

          86.   Even assuming the stripping of Mr. Sneed’s parole complied with the minimal

requirements of procedural due process and state law, the actions of the Committee on Parole

and Mr. Abbott (who waited many weeks after the alleged wrongdoing by Mr. Sneed before

acting to strip Mr. Sneed of his parole) offended the First Amendment.

          87.    Mr. Sneed engaged in constitutionally protected activity when he made the

difficult strategic decision to publicize his Disciplinary Board proceedings—a story that quickly

went “viral” nationally and cast Louisiana corrections officials in a negative light; when he

challenged the credibility of Louisiana correctional officers at an administrative hearing; and

when he vigorously (and successfully) availed himself of the procedural rights in opposing his

disciplinary charges before the LSP administrative hearing process.

          88.   Conspicuously, Mr. Abbott and the Committee on Parole took no adverse action

against Mr. Sneed at any point between March 25, 2021 and May 6, 2021; only after Mr. Sneed

engaged in protected First Amendment activity critical of Louisiana corrections officials did the

Committee on Parole act.

          89.   On the evening of May 6, 2021, Mr. Abbott referred derisively to the ongoing

press coverage of Mr. Sneed’s case and stated it would not help Mr. Sneed before the Committee

on Parole. He asked to be notified if the Wall Street Journal was planning on covering the

matter.

          90.   On the morning of May 7, 2021, Mr. Abbott presented information to Mr.

Marabella and stripped Mr. Sneed of his parole. Undertaking discretionary acts that resulted in

stripping a person of their parole, after nearly 47 years in prison, caused Mr. Sneed to suffer an




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injury that would chill a person of ordinary firmness from continuing to engage in the protected

activity. Cf. Nyberg v. Davidson, 776 F. App’x 578, 582 (11th Cir. 2019) (“denying [prisoner]

parole no doubt constitutes an adverse action that would deter an inmate of ordinary firmness

from engaging in First Amendment protected conduct [like accessing courts]”); Watison v.

Carter, 668 F.3d 1108, 1115 (9th Cir. 2012) (reversing dismissal of prisoner’s

First Amendment retaliation claim based on allegations that two corrections officers lied at the

inmate’s parole hearing in retaliation for filing grievances, which caused the inmate to be

denied parole); Rauser v. Horn, 241 F.3d 330, 334 (3d Cir. 2001).

       91.      The defendants’ adverse actions beginning on May 7, 2021, and continuing until

May 10, 2021, were substantially motivated against Mr. Sneed’s exercise of constitutionally

protected conduct. They were also a but-for cause of the actions: if Mr. Sneed’s alleged drug use

were an independently sufficient basis for acting to strip his parole, Mr. Abbott and the

Committee on Parole would have acted at some point in the preceding 43 days, not only after

Mr. Sneed was cleared of wrongdoing.

                                             COUNT III

                            42 U.S.C § 1983 – “Vindictiveness” Claim

       92.      Plaintiff repeats and realleges all of the paragraphs in this complaint as if fully set

forth herein.

       93.      The basic principle that criminal legal system actors may not retaliate against

individuals for their exercise of a statutory or constitutional right has been extended from

sentencing judges (North Carolina v. Pearce, 395 U.S. 711 (1969)) to prosecutors (Blackledge v.

Perry, 417 U.S. 21 (1974)) to parole boards. See, e.g, Kindred v. Spears, 894 F.2d 1477 (5th Cir.




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1990), Bono v. Benov, 197 F.3d 409 (9th Cir. 1999), Marshall v. Lansing, 839 F.2d 933 (3d Cir.

1988).

         94.    Mr. Sneed exercised his statutory and constitutional rights: he vigorously (and

successfully) asserted his rights before the LSP Disciplinary Board; he rejected an improper

attempt to “plea bargain” around the Committee on Parole process on May 6, 2021; he attempted

to bring these concerns to the attention of the Committee on Parole; and he protested the

lawlessness of the Committee on Parole’s May 7, 2021 ex parte “rescind[ing]” of his parole

through formal motions and vigorous objections at the May 10, 2021 proceeding.

         95.    In response, the Committee on Parole took the unusually harsh action of stripping

Mr. Sneed of his parole entirely (and refused to even entertain the lesser alternative course that

Mr. Abbott floated like sending Mr. Sneed to a nine-month drug treatment program in DOC

custody).

         96.    As with Mr. Sneed’s First Amendment claim, the Committee on Parole’s decision

to wait until after Mr. Sneed (successfully) availed himself of his procedural rights defies benign

explanation.

         97.    Strengthening the inference of improper motivation, Louisiana law provides that

the appropriate response for a “first positive drug test” is not the harsh penalty imposed by the

Committee on Parole. See La. R.S. 15:574.7(C)(2)(a)(i) (providing that parole officials may not

ordinarily order even a brief period of incarceration, let alone revoke parole outright, in response

to a parolee’s first positive drug test).

         98.    There is a “reasonable likelihood” that the Committee on Parole’s unusual (indeed

unprecedented) treatment of Mr. Sneed’s case is the product of actual vindictiveness in response

to his exercise of his rights. Bono, 197 F.3d at 416.




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                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff prays that this Court enter judgment in his favor and against

Defendants, awarding declaratory and injunctive relief, preliminary injunctive relief, and costs

and attorney’s fees against all Defendants, and for such further and additional relief as this Court

may deem appropriate and just. He seeks declaratory and injunctive relief both with respect to

Defendants’ unlawful acts of May 7/May 10 and future unconstitutional conduct at the hearing

state officials intend to hold in the coming months.

                                              Respectfully submitted,

                                              BOBBY SNEED

                                              By: /s/ Thomas W. Frampton
                                                       His attorney

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